&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-06-17"&gt;
 &lt;div class="generated-from-iceberg vlex-toc"&gt;
 &lt;link href="https://doc-stylesheets.vlex.com/ldml-xml.css" rel="stylesheet" type="text/css"&gt;&lt;/link&gt;
 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/893657246" data-vids="893657246" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2021 CO 40&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Petitioner: &lt;span class="ldml-party"&gt;Wesley Richard DePriest&lt;/span&gt;,&lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt;Respondent: &lt;span class="ldml-party"&gt;The People of the State of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No. 20SC438&lt;/span&gt;&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-court"&gt;&lt;b class="ldml-bold"&gt;Supreme Court of the State of Colorado&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;June 1, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt; &lt;div class="ldml-syllabus"&gt;&lt;p data-paragraph-id="179" class="ldml-paragraph "&gt;&lt;span class="ldml-notice"&gt;&lt;span data-paragraph-id="179" data-sentence-id="179" class="ldml-sentence"&gt;Opinions of the &lt;span class="ldml-entity"&gt;Colorado Supreme Court&lt;/span&gt; are available to the public and can be accessed through the Judicial Branch's homepage at http://www.&lt;span class="ldml-entity"&gt;courts&lt;/span&gt;.state.co.&lt;span class="ldml-entity"&gt;us&lt;/span&gt;. Opinions are also posted on the &lt;span class="ldml-entity"&gt;Colorado Bar Association&lt;/span&gt;'s homepage at http://www.cobar.org.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="431" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="431" data-sentence-id="431" class="ldml-sentence"&gt;ADVANCE SHEET HEADNOTE&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="453" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="453" data-sentence-id="453" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Grounds for Dismissal&lt;/b&gt; — &lt;b class="ldml-bold"&gt;Mootness&lt;/b&gt; — &lt;b class="ldml-bold"&gt;Collateral Consequences.&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="512" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="512" data-sentence-id="520" class="ldml-sentence"&gt;In this opinion, &lt;span class="ldml-entity"&gt;the supreme court&lt;/span&gt; reviews an order of a divided &lt;span class="ldml-entity"&gt;panel of the court of appeals&lt;/span&gt;, summarily granting &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion to dismiss &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s appeal&lt;/span&gt; from the revocation of his deferred judgment and sentence as moot.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="755" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="755" data-sentence-id="763" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The supreme court&lt;/span&gt; holds that the appeal is not moot because, if &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; prevails in his appeal, his conviction would be vacated, his deferred judgment and sentence would be reinstated, and any sentences resulting from the improperly imposed conviction would be reversed.&lt;/span&gt; &lt;span data-paragraph-id="755" data-sentence-id="1040" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; faces direct and collateral consequences from the revocation of his deferred judgment and sentence and the entry of the judgment of conviction, the division erred in dismissing his appeal as moot.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1258" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1258" data-sentence-id="1266" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;the supreme court&lt;/span&gt; vacates the order of dismissal and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; to proceed with the appeal on the merits.&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="2" data-id="pagenumber_1414"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1414" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1414" data-sentence-id="1414" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;Certiorari to the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals&lt;/span&gt;&lt;/i&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1457" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1457" data-sentence-id="1457" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1457"&gt;&lt;span class="ldml-cite"&gt;Case No. 18CA156&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1490" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1490" data-sentence-id="1490" class="ldml-sentence"&gt;&lt;span class="ldml-disposition"&gt;&lt;b class="ldml-bold"&gt;Judgment Vacated&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="1506" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="1506" data-sentence-id="1506" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;en banc&lt;/i&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="1513" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="1513" data-sentence-id="1513" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;:&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1538" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="1538" data-sentence-id="1538" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Megan A. Ring&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1568" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="1568" data-sentence-id="1568" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Meredith K. Rose&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="1616" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="1616" data-sentence-id="1616" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;Denver&lt;/i&gt;, &lt;i class="ldml-italics"&gt;Colorado&lt;/i&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1632" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="1632" data-sentence-id="1632" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;:&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1657" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="1657" data-sentence-id="1657" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1691" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="1691" data-sentence-id="1691" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;William G. Kozeliski&lt;/span&gt;&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;p data-paragraph-id="1754" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1754" data-sentence-id="1754" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;Denver&lt;/i&gt;, &lt;i class="ldml-italics"&gt;Colorado&lt;/i&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="1770" class="ldml-paragraph "&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (BERKENKOTTER)"&gt;&lt;span data-paragraph-id="1770" data-sentence-id="1770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;b class="ldml-bold"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt;&lt;/b&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="3" data-id="pagenumber_1826"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1826" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1826" data-sentence-id="1826" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1826"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' divided order in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevdepriest,no18ca156apr20,2020" data-prop-ids="sentence_1826"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. DePriest&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No. 18CA156&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Apr. 20, 2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, summarily granting &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion to dismiss &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s appeal&lt;/span&gt; from the revocation of his deferred judgment and sentence as moot.&lt;/span&gt; &lt;span data-paragraph-id="1826" data-sentence-id="2067" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that the appeal is not moot because, if &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; prevails in his appeal, his conviction would be vacated, his deferred judgment and sentence would be reinstated, and any sentences resulting from the improperly imposed conviction would be reversed.&lt;/span&gt; &lt;span data-paragraph-id="1826" data-sentence-id="2328" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; vacate the order of dismissal and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; to proceed with the appeal on the merits.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="upper_case_roman_numeral" data-confidences="very_high" data-value="I. Facts and Procedural History" data-ordinal_start="1" data-ordinal_end="1" data-id="heading_2459" data-specifier="I" data-types="background" id="heading_2459" data-content-heading-label="I. Facts and Procedural History"&gt;&lt;span data-paragraph-id="2459" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="2459" data-sentence-id="2459" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="2459" data-sentence-id="2462" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="2490" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2490" data-sentence-id="2490" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2490"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;June 2016&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Wesley Richard DePriest&lt;/span&gt; entered into a plea agreement in which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; pled guilty to third degree assault, a class 1 misdemeanor, and attempted sexual assault, a class 5 felony.&lt;/span&gt; &lt;span data-paragraph-id="2490" data-sentence-id="2681" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; approved the plea agreement and sentenced DePriest to a four-year deferred judgment and sentence &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"DJS"&lt;/span&gt;)&lt;/span&gt; on the attempted sexual assault charge and a concurrent four-year term of probation on the third degree assault conviction.&lt;/span&gt; &lt;span data-paragraph-id="2490" data-sentence-id="2926" class="ldml-sentence"&gt;The terms of the DJS and probation included, but were not limited to, sex offender intensive supervised probation &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"SOISP"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3050" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3050" data-sentence-id="3050" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3050"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;September 2017&lt;/span&gt;, DePriest's probation officer filed a complaint alleging that DePriest violated certain terms and conditions of his DJS and his misdemeanor probation.&lt;/span&gt; &lt;span data-paragraph-id="3050" data-sentence-id="3222" class="ldml-sentence"&gt;Following a hearing, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; agreed.&lt;/span&gt; &lt;span data-paragraph-id="3050" data-sentence-id="3267" class="ldml-sentence"&gt;It revoked DePriest's DJS and his misdemeanor probation and entered the judgment of&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="4" data-id="pagenumber_3350"&gt;&lt;/span&gt;conviction on the attempted sexual assault count.&lt;/span&gt; &lt;span data-paragraph-id="3050" data-sentence-id="3400" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then resentenced DePriest to a five-year term of SOISP on that count, and revoked and reinstated his misdemeanor probation for a concurrent five-year term.&lt;/span&gt; &lt;span data-paragraph-id="3050" data-sentence-id="3566" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;January 2018&lt;/span&gt;, DePriest appealed the order revoking his DJS, arguing that certain conditions of the DJS were unconstitutional.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3694" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3694" data-sentence-id="3694" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3694"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; While this appeal was pending, DePriest violated the terms of his SOISP.&lt;/span&gt; &lt;span data-paragraph-id="3694" data-sentence-id="3770" class="ldml-sentence"&gt;Following a hearing, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; revoked his SOISP and sentenced him to three years in prison on the attempted sexual assault conviction.&lt;/span&gt; &lt;span data-paragraph-id="3694" data-sentence-id="3912" class="ldml-sentence"&gt;DePriest did not appeal the &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; revocation of his SOISP and, instead, served his remaining time in the &lt;span class="ldml-entity"&gt;Department of Corrections&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4042" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4042" data-sentence-id="4042" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4042"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;April 2020&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; filed a &lt;span class="ldml-entity"&gt;motion to dismiss DePriest's appeal&lt;/span&gt; as moot, arguing that, even if &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversed the &lt;span class="ldml-entity"&gt;2017&lt;/span&gt; revocation of his DJS, the decision would have no practical effect on DePriest because the &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; revocation of his SOISP superseded the revocation of his DJS.&lt;/span&gt; &lt;span data-paragraph-id="4042" data-sentence-id="4343" class="ldml-sentence"&gt;A divided &lt;span class="ldml-entity"&gt;panel of the court of appeals&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s motion and summarily dismissed DePriest's appeal as moot.&lt;/span&gt; &lt;span data-paragraph-id="4042" data-sentence-id="4462" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4343"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;DePriest&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at *1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4042" data-sentence-id="4479" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Grove&lt;/span&gt; dissented&lt;/span&gt;, concluding that if DePriest were to prevail in his appeal, reversal of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; would have a practical effect on DePriest because his DJS would be reinstated and any sentences resulting from the improperly imposed conviction would be reversed.&lt;/span&gt; &lt;span data-paragraph-id="4042" data-sentence-id="4762" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4479"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id&lt;/i&gt;. at *2-3&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Grove, J., dissenting)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="5" data-id="pagenumber_4798"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4798" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4798" data-sentence-id="4798" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4798"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari and now vacate the division's order of dismissal and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; to proceed with the appeal on the merits.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="upper_case_roman_numeral" data-confidences="very_high" data-value="II. Analysis" data-ordinal_start="2" data-ordinal_end="2" data-id="heading_4957" data-specifier="II" data-types="analysis" id="heading_4957" data-content-heading-label="II. Analysis"&gt;&lt;span data-paragraph-id="4957" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="4957" data-sentence-id="4957" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="4957" data-sentence-id="4961" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="4969" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4969" data-sentence-id="4969" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4969"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by outlining the controlling law on the doctrine of mootness and the collateral legal consequences exception to the mootness doctrine.&lt;/span&gt; &lt;span data-paragraph-id="4969" data-sentence-id="5116" class="ldml-sentence"&gt;Next, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; detail the law as it relates to deferred judgments and sentences.&lt;/span&gt; &lt;span data-paragraph-id="4969" data-sentence-id="5191" class="ldml-sentence"&gt;Then, applying the law to &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that, if DePriest were to prevail in his appeal, reversal of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s order revoking his DJS would have a direct and practical effect on him because his conviction would be vacated.&lt;/span&gt; &lt;span data-paragraph-id="4969" data-sentence-id="5444" class="ldml-sentence"&gt;It would also eliminate his exposure to collateral consequences.&lt;/span&gt; &lt;span data-paragraph-id="4969" data-sentence-id="5509" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that DePriest's appeal is not moot.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="upper_case_letters" data-value="A. Legal Authority" data-ordinal_start="1" data-ordinal_end="1" data-id="heading_5569" data-specifier="A" id="heading_5569" data-content-heading-label="A. Legal Authority"&gt;&lt;span data-paragraph-id="5569" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="5569" data-sentence-id="5569" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="5569" data-sentence-id="5572" class="ldml-sentence"&gt;Legal Authority&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-parsed="true" data-format="number" data-value="1. Mootness" data-ordinal_start="1" data-ordinal_end="1" data-id="heading_5587" data-specifier="1" id="heading_5587" data-content-heading-label="1. Mootness"&gt;&lt;span data-paragraph-id="5587" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="5587" data-sentence-id="5587" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="5587" data-sentence-id="5590" class="ldml-sentence"&gt;Mootness&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="5598" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5598" data-sentence-id="5598" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5598"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review de novo the question of whether an appeal is moot.&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="5662" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleexrelreinvmeagher,2020co56" data-prop-ids="sentence_5598"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People ex rel&lt;/i&gt;. &lt;i class="ldml-italics"&gt;Rein v. Meagher&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2020 CO 56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5598"&gt;&lt;span class="ldml-cite"&gt;¶ 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886015661" data-vids="886015661" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;465 P.3d 554, 558&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="5735" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Colorado courts&lt;/span&gt; invoke their judicial power only when an actual controversy exists."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="5821" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peopleininterestofvivekanathan,2013coa143m" data-prop-ids="sentence_5735"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People in Int&lt;/i&gt;. &lt;i class="ldml-italics"&gt;of Vivekanathan&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2013 COA 143M&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5735"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:338p3d1017,1020"&gt;&lt;span class="ldml-cite"&gt;338 P.3d 1017, 1020&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="5895" class="ldml-sentence"&gt;When an actual controversy no longer exists, an issue becomes moot because any relief granted by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; would have no practical effect.&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="6034" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:338p3d1017,1020" data-prop-ids="sentence_5895"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id&lt;/i&gt;.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="6038" class="ldml-sentence"&gt;If an event occurs while &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; is pending on appeal that makes it &lt;span class="ldml-quotation quote"&gt;"impossible for &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to grant &lt;span class="ldml-quotation quote"&gt;'any effectual&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="6" data-id="pagenumber_6154"&gt;&lt;/span&gt;relief'&lt;/span&gt; . . . to a prevailing &lt;span class="ldml-entity"&gt;party&lt;/span&gt;,"&lt;/span&gt; the appeal must then be dismissed as moot.&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="6235" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892429289" data-vids="892429289" class="ldml-reference" data-prop-ids="sentence_6038"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Church of Scientology of Cal&lt;/i&gt;. &lt;i class="ldml-italics"&gt;v. United States&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;506 U.S. 9, 12&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884725921" data-vids="884725921" class="ldml-reference" data-prop-ids="sentence_6038"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Mills v. Green&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;159 U.S. 651, 653&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1895&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891512439" data-vids="891512439" class="ldml-reference" data-prop-ids="embeddedsentence_6442,sentence_6038"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Stell v. Boulder Cnty&lt;/i&gt;. &lt;i class="ldml-italics"&gt;Dep't of Soc&lt;/i&gt;. &lt;i class="ldml-italics"&gt;Servs&lt;/i&gt;.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 P.3d 910, 914&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; case is deemed moot when the relief granted by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; would not have a practical effect upon an actual and existing controversy."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="6582" class="ldml-sentence"&gt;But, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;s long as &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; have a concrete interest, however small, in the outcome of the litigation, &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; is not moot."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5598" data-sentence-id="6711" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893931373" data-vids="893931373" class="ldml-reference" data-prop-ids="sentence_6582"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Knox v. Serv&lt;/i&gt;. &lt;i class="ldml-italics"&gt;Emps&lt;/i&gt;. &lt;i class="ldml-italics"&gt;Int'l Union&lt;/i&gt;, &lt;i class="ldml-italics"&gt;Loc&lt;/i&gt;. &lt;i class="ldml-italics"&gt;1000&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;567 U.S. 298, 307-08&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2012&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888031459" data-vids="888031459" class="ldml-reference" data-prop-ids="sentence_6582"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Ellis v. Brotherhood of Ry&lt;/i&gt;., &lt;i class="ldml-italics"&gt;Airline &amp; S.S. Clerks&lt;/i&gt;, &lt;i class="ldml-italics"&gt;Freight Handlers&lt;/i&gt;, &lt;i class="ldml-italics"&gt;Exp&lt;/i&gt;. &lt;i class="ldml-italics"&gt;&amp; Station Emps&lt;/i&gt;.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;466 U.S. 435, 442&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6910" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6910" data-sentence-id="6910" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6910"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Under the collateral consequences exception to the mootness doctrine, &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; is moot &lt;span class="ldml-quotation quote"&gt;"only if it is shown that there is no possibility that any collateral legal consequences will be imposed on the basis of the challenged conviction."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6910" data-sentence-id="7147" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891598137" data-vids="891598137" class="ldml-reference" data-prop-ids="sentence_6910"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Sibron v. New York&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;392 U.S. 40, 57&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6910" data-sentence-id="7191" class="ldml-sentence"&gt;Collateral consequences can include prohibitions on a felon's ability to vote and own firearms, potential sentencing as a habitual criminal, possible impeachment based on prior convictions, and proscription from working in certain regulated professions.&lt;/span&gt; &lt;span data-paragraph-id="6910" data-sentence-id="7445" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886440910" data-vids="886440910" class="ldml-reference" data-prop-ids="sentence_7191"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Linnebur v. People&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2020 CO 79M&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7191"&gt;&lt;span class="ldml-cite"&gt;¶ 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886440910" data-vids="886440910" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;476 P.3d 734, 740&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885053881" data-vids="885053881" class="ldml-reference" data-prop-ids="embeddedsentence_7559"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Carafas v. LaVallee&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;391 U.S. 234, 237&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;observing&lt;/span&gt; various collateral consequences that can stem from a conviction, including the inability to serve as a juror and act as a labor union official&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="7" data-id="pagenumber_7713"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7713" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7713" data-sentence-id="7713" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7713"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Even if a sentence has been fully served, an appeal of the underlying conviction is not moot if there is a possibility that the conviction will give rise to collateral consequences.&lt;/span&gt; &lt;span data-paragraph-id="7713" data-sentence-id="7899" class="ldml-sentence"&gt;This is because the disabilities and burdens which may flow from a conviction give &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"a substantial stake in the judgment of conviction which survives the satisfaction of the sentence imposed on him."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7713" data-sentence-id="8112" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885053881" data-vids="885053881" class="ldml-reference" data-prop-ids="sentence_8112"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Carafas&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;391 U.S. at 237&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:fiswickvunitedstates,329us211,216,67sct224,227,91led1961946" data-prop-ids="sentence_8112"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Fiswick v. United States&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;329 U.S. 211, 222&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1946&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;, &lt;i class="ldml-italics"&gt;e.g&lt;/i&gt;.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884509487" data-vids="884509487" class="ldml-reference" data-prop-ids="sentence_8112"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Minnesota v. Dickerson&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;508 U.S. 366, 371 n.2&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that, even though the diversionary sentence was successfully completed and the original charges were dismissed, Minnesota law provided that the record of the charges would be retained and used by &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; in determining the merits of subsequent proceedings, and those collateral consequences were sufficient to preclude a finding of mootness&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891598137" data-vids="891598137" class="ldml-reference" data-prop-ids="sentence_8112"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Sibron&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;392 U.S. at 55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; (&lt;span class="ldml-quotation quote"&gt;"Subsequent convictions may carry heavier penalties, &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; civil rights may be affected."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7713" data-sentence-id="8732" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889184095" data-vids="889184095" class="ldml-reference" data-prop-ids="sentence_8112"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;United States v. Morgan&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;346 U.S. 502, 512-13&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1954&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8795" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8795" data-sentence-id="8795" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8795"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; An appeal may be moot because the relief sought cannot be afforded through the appeal.&lt;/span&gt; &lt;span data-paragraph-id="8795" data-sentence-id="8886" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;, &lt;i class="ldml-italics"&gt;e.g&lt;/i&gt;.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885937486" data-vids="885937486" class="ldml-reference" data-prop-ids="embeddedsentence_8951,sentence_8795"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Garcia&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;89 P.3d 519, 520&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that, because &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; appealed a condition of his sentence rather than his conviction, the collateral consequences of his conviction still remained in effect, and therefore his appeal was moot&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888803354" data-vids="888803354" class="ldml-reference" data-prop-ids="sentence_8795"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Garcia&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 COA 85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8795"&gt;&lt;span class="ldml-cite"&gt;¶¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 14, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888803354" data-vids="888803354" class="ldml-reference" data-prop-ids="embeddedsentence_9221"&gt;&lt;span class="ldml-cite"&gt;356 P.3d 913, 916&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that the appeal was moot because &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="8" data-id="pagenumber_9279"&gt;&lt;/span&gt;appealed his probation revocation rather than his conviction, which is what could have affected his immigration status&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9399" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9399" data-sentence-id="9399" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9399"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; An appeal can also become moot &lt;span class="ldml-quotation quote"&gt;"because of subsequent occurrences."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9399" data-sentence-id="9471" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886806653" data-vids="886806653" class="ldml-reference" data-prop-ids="sentence_9399"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Brown v. Colo&lt;/i&gt;. &lt;i class="ldml-italics"&gt;Dep't of Corr&lt;/i&gt;.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;915 P.2d 1312, 1313&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9399" data-sentence-id="9536" class="ldml-sentence"&gt;In these types of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, a subsequent occurrence provides &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; with the relief &lt;span class="ldml-entity"&gt;he&lt;/span&gt; or &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was seeking on appeal.&lt;/span&gt; &lt;span data-paragraph-id="9399" data-sentence-id="9655" class="ldml-sentence"&gt;For example, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886806653" data-vids="886806653" class="ldml-reference" data-prop-ids="sentence_9655"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Brown&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; sought either to be released from confinement or to be transferred back to Colorado.&lt;/span&gt; &lt;span data-paragraph-id="9399" data-sentence-id="9777" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886806653" data-vids="886806653" class="ldml-reference" data-prop-ids="sentence_9655"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id&lt;/i&gt;.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9399" data-sentence-id="9781" class="ldml-sentence"&gt;Because, subsequent to the litigation, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was transferred back to the &lt;span class="ldml-entity"&gt;Colorado State Penitentiary&lt;/span&gt;, the relief &lt;span class="ldml-entity"&gt;he&lt;/span&gt; sought was satisfied, thereby rendering the appeal moot.&lt;/span&gt; &lt;span data-paragraph-id="9399" data-sentence-id="9962" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886806653" data-vids="886806653" class="ldml-reference" data-prop-ids="sentence_9781"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id&lt;/i&gt;. at 1313-14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9399" data-sentence-id="9978" class="ldml-sentence"&gt;Likewise, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895666497" data-vids="895666497" class="ldml-reference" data-prop-ids="sentence_9978"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hunt v. State Department of Corrections&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;985 P.2d 651, 651-52&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s claims were moot because the only applicable remedy was for him to be returned to Colorado, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had already been returned subsequent to filing a &lt;span class="ldml-entity"&gt;petition for writ of habeas corpus&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-parsed="true" data-format="number" data-value="2. Deferred Judgment and Sentence" data-ordinal_start="2" data-ordinal_end="2" data-id="heading_10287" data-specifier="2" id="heading_10287" data-content-heading-label="2. Deferred Judgment and Sentence"&gt;&lt;span data-paragraph-id="10287" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="10287" data-sentence-id="10287" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="10287" data-sentence-id="10290" class="ldml-sentence"&gt;Deferred Judgment and Sentence&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="10320" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10320" data-sentence-id="10320" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10320"&gt;&lt;span class="ldml-cite"&gt;¶13 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; DJS is not a conviction and it is not a sentence.&lt;/span&gt; &lt;span data-paragraph-id="10320" data-sentence-id="10376" class="ldml-sentence"&gt;Instead, it &lt;span class="ldml-quotation quote"&gt;"is a dispositional alternative imposed &lt;i class="ldml-italics"&gt;in lieu of&lt;/i&gt; a judgment and sentence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10320" data-sentence-id="10465" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevanderson,2015coa12" data-prop-ids="sentence_10376"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Anderson&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2015 COA 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10376"&gt;&lt;span class="ldml-cite"&gt;¶ 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889257309" data-vids="889257309" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;348 P.3d 491, 494&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10320" data-sentence-id="10523" class="ldml-sentence"&gt;The deferred judgment &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; authorizes &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;, after acceptance of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s guilty plea and upon consent of all &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"to continue &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for the purpose of entering judgment&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="9" data-id="pagenumber_10716"&gt;&lt;/span&gt;and sentence upon the plea of guilty for a period not to exceed four years for a felony . . . ."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10320" data-sentence-id="10813" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10523"&gt;&lt;span class="ldml-cite"&gt;§ 18-1.3-102&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10320" data-sentence-id="10848" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"As a condition of continuing &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; is empowered to implement probation-like supervision conditions that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; must adhere to."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10320" data-sentence-id="11004" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895417888" data-vids="895417888" class="ldml-reference" data-prop-ids="sentence_10848"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Kazadi v. People&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 CO 73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10848"&gt;&lt;span class="ldml-cite"&gt;¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895417888" data-vids="895417888" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;291 P.3d 16, 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 18-1.3-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10320" data-sentence-id="11083" class="ldml-sentence"&gt;Such conditions are established by a stipulation between &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"shall be similar in all respects to conditions permitted as part of probation."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10320" data-sentence-id="11259" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11083"&gt;&lt;span class="ldml-cite"&gt;§ 18-1.3-102&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11275" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11275" data-sentence-id="11275" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11275"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Unlike the consequence of a successfully completed probation sentence, when &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; fully complies with the conditions of the deferred judgment for the prescribed period, &lt;span class="ldml-quotation quote"&gt;"the plea of guilty previously entered shall be withdrawn and the charge upon which the judgment and sentence of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; was deferred shall be dismissed with prejudice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11275" data-sentence-id="11628" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11275"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id&lt;/i&gt;.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;accord&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887279890" data-vids="887279890" class="ldml-reference" data-prop-ids="embeddedsentence_11702,sentence_11275"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hafelfinger v. Dist&lt;/i&gt;. &lt;i class="ldml-italics"&gt;Ct&lt;/i&gt;.&lt;/span&gt;, &lt;span class="ldml-cite"&gt;674 P.2d 375, 377 n.3&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;After successfully completing a deferred judgment, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"would no longer be &lt;span class="ldml-quotation quote"&gt;'convicted.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11275" data-sentence-id="11803" class="ldml-sentence"&gt;And, unlike the consequence of a probation violation, &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; generally has no discretion to continue a deferred judgment upon finding a violation of a condition regulating &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conduct.&lt;/span&gt; &lt;span data-paragraph-id="11275" data-sentence-id="12001" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevanderson,2015coa12" data-prop-ids="sentence_11803"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Anderson&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11803"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889257309" data-vids="889257309" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;348 P.3d at 494&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11275" data-sentence-id="12034" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must revoke the deferred judgment and &lt;span class="ldml-quotation quote"&gt;"enter judgment and impose sentence upon the guilty plea."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11275" data-sentence-id="12150" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12034"&gt;&lt;span class="ldml-cite"&gt;§ 18-1.3-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11275" data-sentence-id="12167" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; successfully appeals the revocation of his DJS and &lt;span class="ldml-entity"&gt;the appellate court&lt;/span&gt; reverses &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s order, the&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="10" data-id="pagenumber_12292"&gt;&lt;/span&gt;judgment of conviction is vacated and the DJS is reinstated.&lt;/span&gt; &lt;span data-paragraph-id="11275" data-sentence-id="12353" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893312349" data-vids="893312349" class="ldml-reference" data-prop-ids="sentence_12167"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Anzur&lt;/i&gt;es&lt;/span&gt;, &lt;span class="ldml-cite"&gt;670 P.2d 1258, 1260&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-parsed="true" data-format="upper_case_letters" data-value="B. Application" data-ordinal_start="2" data-ordinal_end="2" data-id="heading_12410" data-specifier="B" id="heading_12410" data-content-heading-label="B. Application"&gt;&lt;span data-paragraph-id="12410" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12410" data-sentence-id="12410" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="12410" data-sentence-id="12413" class="ldml-sentence"&gt;Application&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-parsed="true" data-format="number" data-value="1. DePriest's SOISP Sentence Did Not Supersede His DJS" data-ordinal_start="1" data-ordinal_end="1" data-id="heading_12424" data-specifier="1" id="heading_12424" data-content-heading-label="1. DePriest's SOISP Sentence Did Not Supersede His DJS"&gt;&lt;span data-paragraph-id="12424" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12424" data-sentence-id="12424" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="12424" data-sentence-id="12427" class="ldml-sentence"&gt;DePriest's SOISP Sentence Did Not Supersede His DJS&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12478" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12478" data-sentence-id="12478" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12478"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; contend that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;DePriest's&lt;/span&gt; &lt;span class="ldml-cite"&gt;2019 SOISP&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; sentence superseded his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2017 DJS&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and that DePriest could have maintained a live controversy, thereby avoiding the issue of mootness altogether, by appealing the revocation of his SOISP sentence.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12722" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12722" data-sentence-id="12722" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12722"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; first assert that &lt;span class="ldml-quotation quote"&gt;"following the revocation of his deferred judgment, apart from having judgment entered, DePriest stood in the same position as &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have had the first revocation never occurred—&lt;span class="ldml-entity"&gt;he&lt;/span&gt; was placed on SOISP."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12722" data-sentence-id="12961" class="ldml-sentence"&gt;This argument acknowledges, then disregards the reason it is unavailing: That is, the judgment of conviction is the very reason that DePriest is not in the same position &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was in before his DJS was revoked.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13168" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13168" data-sentence-id="13168" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13168"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; next cite to &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference" data-prop-ids="sentence_13168"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Fritz&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 COA 108&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13168"&gt;&lt;span class="ldml-cite"&gt;¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference" data-prop-ids="sentence_13168"&gt;&lt;span class="ldml-cite"&gt;356 P.3d 927, 931&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, for &lt;span class="ldml-entity"&gt;the proposition&lt;/span&gt; that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;DePriest's&lt;/span&gt; &lt;span class="ldml-cite"&gt;2019 SOISP&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; sentence superseded his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2017 DJS.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span data-paragraph-id="13168" data-sentence-id="13333" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id&lt;/i&gt;.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13168" data-sentence-id="13341" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[B]&lt;/span&gt;ecause the new legal sentence necessarily supersedes the original sentence, our determination of whether his sentence was illegal would not have any practical effect on &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="13168" data-sentence-id="13527" class="ldml-sentence"&gt;.&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="11" data-id="pagenumber_13528"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13528" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13528" data-sentence-id="13528" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13528"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference" data-prop-ids="sentence_13528"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Fritz&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; appealed his allegedly illegal probation sentence.&lt;/span&gt; &lt;span data-paragraph-id="13528" data-sentence-id="13607" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13528"&gt;&lt;span class="ldml-cite"&gt;¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;356 P.3d at 929&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13528" data-sentence-id="13630" class="ldml-sentence"&gt;The only remedy available to Fritz in connection with his appeal was the imposition of a new, legal sentence.&lt;/span&gt; &lt;span data-paragraph-id="13528" data-sentence-id="13740" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference" data-prop-ids="sentence_13630"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id&lt;/i&gt;.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13528" data-sentence-id="13744" class="ldml-sentence"&gt;Because Fritz subsequently pled guilty to a probation violation and stipulated to a new, legal sentence &lt;i class="ldml-italics"&gt;after&lt;/i&gt; filing his appeal, his appeal was moot.&lt;/span&gt; &lt;span data-paragraph-id="13528" data-sentence-id="13894" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference" data-prop-ids="sentence_13894"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id&lt;/i&gt;.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13894"&gt;&lt;span class="ldml-cite"&gt;¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference" data-prop-ids="sentence_13894"&gt;&lt;span class="ldml-cite"&gt;356 P.3d at 931&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13528" data-sentence-id="13924" class="ldml-sentence"&gt;That is, there was no relief that the division could grant him.&lt;/span&gt; &lt;span data-paragraph-id="13528" data-sentence-id="13988" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference" data-prop-ids="sentence_13988"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id&lt;/i&gt;.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13988"&gt;&lt;span class="ldml-cite"&gt;¶ 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887685678" data-vids="887685678" class="ldml-reference" data-prop-ids="sentence_13988"&gt;&lt;span class="ldml-cite"&gt;356 P.3d at 929&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14017" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14017" data-sentence-id="14017" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14017"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; But that is not what happened in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14017" data-sentence-id="14065" class="ldml-sentence"&gt;Here, DePriest appealed the allegedly improper revocation of his DJS, arguing that the terms of his DJS were unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="14017" data-sentence-id="14192" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; seeks not the imposition of a new, legal sentence, but rather to have the entry of his conviction for attempted sexual assault vacated and his DJS reinstated.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14353" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14353" data-sentence-id="14353" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14353"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Neither DePriest's subsequent sentence to SOISP nor his subsequent sentence to the &lt;span class="ldml-entity"&gt;Department of Corrections&lt;/span&gt; provide the relief &lt;span class="ldml-entity"&gt;he&lt;/span&gt; seeks.&lt;/span&gt; &lt;span data-paragraph-id="14353" data-sentence-id="14495" class="ldml-sentence"&gt;To the contrary, &lt;i class="ldml-italics"&gt;if&lt;/i&gt; DePriest succeeds in his appeal, the judgment of conviction will be vacated and those sentences will be reversed.&lt;/span&gt; &lt;span data-paragraph-id="14353" data-sentence-id="14629" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; can afford DePriest relief if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; prevails, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893312349" data-vids="893312349" class="ldml-reference" data-prop-ids="sentence_14629"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Anzures&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;670 P.2d at 1260&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, his appeal—unlike Fritz's—is not moot.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14770" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14770" data-sentence-id="14770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14770"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; additionally claim that, in order to keep this controversy live, DePriest should have appealed the &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; revocation of his SOISP sentence.&lt;/span&gt; &lt;span data-paragraph-id="14770" data-sentence-id="14923" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt; &lt;span data-paragraph-id="14770" data-sentence-id="14936" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A defendant&lt;/span&gt; under &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt; does not forfeit his right to&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="12" data-id="pagenumber_15003"&gt;&lt;/span&gt;appeal the allegedly unconstitutional revocation of his DJS simply because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; does not appeal the subsequently imposed sentence.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15131" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15131" data-sentence-id="15131" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15131"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt;'s argument also ignores the fact that the incentives for appealing a DJS revocation and a SOISP sentence revocation are different.&lt;/span&gt; &lt;span data-paragraph-id="15131" data-sentence-id="15277" class="ldml-sentence"&gt;DePriest had a much greater incentive to appeal the DJS revocation, which could ultimately erase his felony conviction.&lt;/span&gt; &lt;span data-paragraph-id="15131" data-sentence-id="15397" class="ldml-sentence"&gt;Conversely, DePriest had less of an incentive to appeal the SOISP revocation because, by &lt;span class="ldml-entity"&gt;2019&lt;/span&gt;, the conviction had already entered and a three-year prison sentence, with credit for time served, may have been a strategic trade-off compared to continuing on SOISP.&lt;/span&gt; &lt;span data-paragraph-id="15131" data-sentence-id="15659" class="ldml-sentence"&gt;This is particularly true here because DePriest would have completed his prison sentence long before either appeal would have been resolved.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-parsed="true" data-format="number" data-value="2. DePriest's Subsequent SOISP Violations" data-ordinal_start="2" data-ordinal_end="2" data-id="heading_15799" data-specifier="2" id="heading_15799" data-content-heading-label="2. DePriest's Subsequent SOISP Violations"&gt;&lt;span data-paragraph-id="15799" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="15799" data-sentence-id="15799" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="15799" data-sentence-id="15802" class="ldml-sentence"&gt;DePriest's Subsequent SOISP Violations&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="15840" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15840" data-sentence-id="15840" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15840"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; argue that DePriest's subsequent conduct, which constituted the basis for his &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2019 SOISP&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; revocation, should be considered as a sufficient, independent reason to hold that his appeal is moot.&lt;/span&gt; &lt;span data-paragraph-id="15840" data-sentence-id="16046" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; assert that the reasons underlying the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2019 SOISP&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; revocation were unrelated to the constitutional rights at issue in DePriest's appeal and, therefore, the outcome of the appeal would not alter his subsequent revocation.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16276" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16276" data-sentence-id="16276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16276"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt;'s argument is essentially that, even if the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;2017 DJS&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was improperly revoked, it does not matter because DePriest ultimately violated his&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="13" data-id="pagenumber_16427"&gt;&lt;/span&gt;probation.&lt;/span&gt; &lt;span data-paragraph-id="16276" data-sentence-id="16438" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; find this argument unpersuasive.&lt;/span&gt; &lt;span data-paragraph-id="16276" data-sentence-id="16474" class="ldml-sentence"&gt;It ignores the fact that DePriest would not have been on probation in &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; &lt;i class="ldml-italics"&gt;but for&lt;/i&gt; the revocation of his DJS in &lt;span class="ldml-entity"&gt;2017&lt;/span&gt;, which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is appealing now.&lt;/span&gt; &lt;span data-paragraph-id="16276" data-sentence-id="16619" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;, &lt;i class="ldml-italics"&gt;e.g&lt;/i&gt;.&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893312349" data-vids="893312349" class="ldml-reference" data-prop-ids="embeddedsentence_16657,sentence_16474"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Anzures&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;670 P.2d at 1260&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that, because &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reversed the denial of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16474"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; motion&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must &lt;span class="ldml-quotation quote"&gt;"vacate the sentence imposed and . . . reinstate the deferred judgment"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16276" data-sentence-id="16854" class="ldml-sentence"&gt;Additionally, though DePriest's &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; conduct would have violated the terms of the DJS if it had still been in effect, the DJS had already been revoked for two years.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17019" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17019" data-sentence-id="17019" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17019"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Moreover, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s argument invites &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to speculate about what would have happened if DePriest's DJS was not revoked.&lt;/span&gt; &lt;span data-paragraph-id="17019" data-sentence-id="17145" class="ldml-sentence"&gt;That is a crystal ball into which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decline to gaze.&lt;/span&gt; &lt;span data-paragraph-id="17019" data-sentence-id="17199" class="ldml-sentence"&gt;Not only did DePriest have different incentives in successfully completing his probation, as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note above, but &lt;span class="ldml-entity"&gt;he&lt;/span&gt; also arguably lacked notice that his conduct would violate his DJS because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believed it to be, and it had been, in fact, revoked.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-parsed="true" data-format="number" data-value="3. Collateral Consequences Attend DePriest's Conviction" data-ordinal_start="3" data-ordinal_end="3" data-id="heading_17445" data-specifier="3" id="heading_17445" data-content-heading-label="3. Collateral Consequences Attend DePriest's Conviction"&gt;&lt;span data-paragraph-id="17445" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="17445" data-sentence-id="17445" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="17445" data-sentence-id="17448" class="ldml-sentence"&gt;Collateral Consequences Attend DePriest's Conviction&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="17500" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17500" data-sentence-id="17500" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17500"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Finally, to determine if DePriest's appeal of the revocation of his DJS is moot, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; examine whether there is any possibility that any collateral consequences may flow from his challenged conviction.&lt;/span&gt; &lt;span data-paragraph-id="17500" data-sentence-id="17703" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887363729" data-vids="887363729" class="ldml-reference" data-prop-ids="sentence_17500"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Moland v. People&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;757 P.2d 137, 139&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17500" data-sentence-id="17753" class="ldml-sentence"&gt;That is, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; look to the practical consequences that would result if &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; reached the merits of DePriest's appeal and ruled in&lt;span class="ldml-pagenumber" data-page_type="labeled_number" data-val="14" data-id="pagenumber_17894"&gt;&lt;/span&gt;his favor.&lt;/span&gt; &lt;span data-paragraph-id="17500" data-sentence-id="17905" class="ldml-sentence"&gt;Here, because &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; revoked DePriest's DJS and entered the judgment of conviction for attempted sexual assault, DePriest has a felony conviction on his record.&lt;/span&gt; &lt;span data-paragraph-id="17500" data-sentence-id="18075" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; faces the various collateral consequences associated with that conviction, including his potential inability to own firearms, work in certain professions, and act as a labor official.&lt;/span&gt; &lt;span data-paragraph-id="17500" data-sentence-id="18262" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885053881" data-vids="885053881" class="ldml-reference" data-prop-ids="sentence_18075"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Carafas&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;391 U.S. at 237&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886440910" data-vids="886440910" class="ldml-reference" data-prop-ids="sentence_18075"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Linnebur&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18075"&gt;&lt;span class="ldml-cite"&gt;¶ 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886440910" data-vids="886440910" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;476 P.3d at 740&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17500" data-sentence-id="18325" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; may also possibly face impeachment based upon the prior conviction and possibly be sentenced as a habitual criminal in subsequent criminal &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17500" data-sentence-id="18474" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886440910" data-vids="886440910" class="ldml-reference" data-prop-ids="sentence_18325"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Linnebur&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18325"&gt;&lt;span class="ldml-cite"&gt;¶ 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886440910" data-vids="886440910" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;476 P.3d at 740&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17500" data-sentence-id="18507" class="ldml-sentence"&gt;Thus, a decision by &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; on the merits of DePriest's appeal, if favorable, could have a real and practical legal effect on DePriest.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-parsed="true" data-format="upper_case_roman_numeral" data-confidences="very_high" data-value="III. Conclusion" data-ordinal_start="3" data-ordinal_end="3" data-id="heading_18655" data-specifier="III" data-types="conclusion" id="heading_18655" data-content-heading-label="III. Conclusion"&gt;&lt;span data-paragraph-id="18655" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="18655" data-sentence-id="18655" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="18655" data-sentence-id="18660" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="18670" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18670" data-sentence-id="18670" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18670"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because DePriest faces direct and collateral consequences from the revocation of his DJS and the entry of the judgment of conviction, the division erred in dismissing his appeal as moot.&lt;/span&gt; &lt;span data-paragraph-id="18670" data-sentence-id="18861" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; vacate the order of dismissal and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; to proceed with the appeal on the merits.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;